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2    428 J Street, 3rd Floor
     Sacramento, California 95814
3    Telephone: (916) 447-0160
4
5    Attorney for Defendant
     MAGGIE LUONG
6
7
                         IN THE UNITED STATES DISTRICT COURT
8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11
     UNITED STATES OF AMERICA,       )      No. CR-S 08-543 GEB
12                                   )
                    Plaintiff,       )
13                                   )      STIPULATION AND ORDER VACATING
          v.                         )      DATE, CONTINUING CASE, AND
14                                   )      EXCLUDING TIME
     MAGGIE LUONG,                   )
15                  Defendant.       )
                                     )      Date   2/18/11
16   _______________________________ )      Time: 9:00 a.m.
                                     )      Judge: Hon. BURRELL
17
18
          IT IS HEREBY STIPULATED by and between Assistant United States
19
     Attorney Michael Beckwith, Counsel for Plaintiff, and Attorney Dina L.
20
     Santos, Counsel for Defendant Maggie Luong, that the status conference
21
     scheduled for January 28, 2011, be vacated as well as the jury trial
22
     and the matter be continued to this Court's criminal calendar on
23
     February 18, 2011, at 9:00 a.m. for change of plea.
24
          This continuance is requested by the defense in order to continue
25
     in negotiations with the prosecution to finalize the plea agreement.    A
26
     new plea agreement has been presented to the defense and it is
27
     anticipated that Ms Luong will enter a change of plea at the next court
28
             Case 2:08-cr-00543-KJM Document 270 Filed 01/28/11 Page 2 of 3


1    date.
2
3          IT IS FURTHER STIPULATED that time for trial under the Speedy
4    Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
5    3161(h)(7)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
6    ends of justice served in granting the continuance and allowing the
7    defendant further time to prepare outweigh the best interests of the
8    public and the defendant in a speedy trial.
9          The Court is advised that all counsel have conferred about this
10   request, that they have agreed to vacate the current status date and
11   trial date and to continue the case the February 18, 2011, date, and
12   that Mr. Beckwith has authorized Ms. Santos to sign this stipulation on
13   his behalf.
14
15
16         IT IS SO STIPULATED.
17
18   Dated: Jan. 27, 2011                      /S/ Dina L. Santos
                                              DINA L. SANTOS
19                                            Attorney for
                                              Maggie Luong
20
21   Dated: Jan. 27, 2011                      /S/ Michael Beckwith
                                              MICHAEL BECKWITH
22                                            Assistant United States Attorney
                                              Attorney for Plaintiff
23
24        IT IS SO ORDERED.
25   Dated: January 27, 2011

26
27                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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     Stipulation and Order                     2
            Case 2:08-cr-00543-KJM Document 270 Filed 01/28/11 Page 3 of 3


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     Stipulation and Order                    3
